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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

BAC LOCAL UNION 15 WELFARE FUND,                         Case No. 2:16-CV-2242-JTM-JPO
et al.,
                   Plaintiffs
                                                     WILLIAM RESTORATION COMPANY,
v.                                                     INC.’S MOTION TO DISMISS THE
                                                        CROSS-CLAIMS ASSERTED BY
WILLIAMS RESTORATION COMPANY,                         DEFENDANT FOX HOLDINGS, INC.
INC. and FOX HOLDINGS, INC.,

                   Defendants.


        Defendant Williams Restoration Company, Inc. (“Williams Restoration”), pursuant to

Federal Rule of Civil Procedure 12(b)(6), hereby moves the Court for an Order dismissing Fox

Holdings, Inc.’s cross-claim with prejudice. For the reasons stated in Williams Restoration’s

accompanying brief in support of this Motion, Fox Holdings, Inc.’s cross-claim fails to state a

claim upon which relief can be granted.

        WHEREFORE, Defendant Williams Restoration Company, Inc. respectfully requests that

the Court enter an Order dismissing with prejudice the cross-claim asserted by Fox Holdings,

Inc. and such other, further, and different relief as the Court deems just and equitable.

Dated November 1, 2018.

                                               WILLIAMS RESTORATION COMPANY,
                                               INC., Defendant,


                                               By: /s/ Phillip J.R. Zeeck
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 1, 2018, I electronically filed the foregoing with the
Clerk of the United States District Court for the District of Kansas using the CM/ECF system,
which caused notice of such filing to be served upon all counsel of record.

                                                  /s/ Phillip J.R. Zeeck




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